
McKinney, J.
delivered the opinion of the court.
The only point in this case seriously urged, or necessary to be considered of, is, that the record does not show that the persons composing the grand jury, were legally qualified jurors. The record informs us, that the jurors were “ balloted for, elected, tried, and sworn,” but it does not state, in terms, as is the more usual and formal practice — that they were “ good and lawful men, and citizens of the county of Claibourn,” and this omission constitutes the objection relied upon in argument. This objection cannot be maintained. The language of the record, by *120its own proper force and meaning, necessarily imports the jurors were, in all respects, legal and qualified jurors. The record shows that the jurors were “tried,” and the judge being, under our system, the trier of the competency of jurors, we must presume that the persons elected, were found, upon trial, to possess ail the qualifications required by law. To hold otherwise in this case, would be in violation of principle, and productive of much mischief. See 1 Yer. 215; Bac. Abr. 572.
Let the judgment be affirmed.
